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 5   Attorneys for Creditors Catherine A. Green and Nathan G. Cook


 6                             IN THE UNITED STATES BANKRUPTCY COURT
 7                                         FOR THE DISTRICT OF ARIZONA
 8                                                                   Chapter 13 Proceedings
     In re:
 9
     JACK WILLIAMS and CYNTHIA SUSAN Case No. 4:19-bk-00735-SHG
10   WILLIAMS,
11
                                               Debtors.
12
     CATHERINE A. GREEN and NATHAN G. Adv. Case No. 4:19-ap-00165-SHG
13   COOK, individually and as Co-Trustees for
14   the Glenn Cook Revocable Trust,

15                                             Plaintiffs,           PLAINTIFFS’ NOTICE OF DEFAULT
     v.                                                              BY DEBTOR/DEFENDANTS
16
17   JACK WILLIAMS and CYNTHIA SUSAN
     WILLIAMS,
18
19                                            Defendants.

20               Plaintiffs Catherine A. Green and Nathan G. Cook, through undersigned counsel,
21   hereby give notice to the Court that the Debtor/Defendants Jack and Cynthia Susan Williams
22
     (collectively, “Williams”), are in default of the Settlement Agreement and General Release
23
     entered into on September 26, 2019.
24
25                On December 20, 2021, Plaintiffs provided written notice of the default to Williams’
26   attorneys. Williams’ attorneys advised that they are no longer representing them. Williams
27
     has failed to cure the default pursuant to the parties’ Settlement Agreement.
28
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 1          Pursuant to the Settlement Agreement, Plaintiffs are recording the Stipulated Judgment

 2   entered on November 13, 2019 [DE 23], and Plaintiffs intend to pursue all remedies available
 3
     to them to collect the amounts due and owing on the Stipulated Judgment.
 4
            DATED this 5th day of January 2022.
 5
 6                                                    GERALD K. SMITH AND JOHN C.
                                                      SMITH LAW OFFICES, PLLC
 7
                                                      By: /s/ John C. Smith
 8                                                           John C. Smith
 9                                                           Attorneys for Creditors Catherine
                                                             A. Green, Nathan G. Cook and The
10                                                           Glenn Cook Revocable Trust
11                                CERTIFICATE OF SERVICE
12
            I hereby certify that on January 5, 2022, I electronically transmitted the attached
13   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice
     of Electronic Filing and additionally e-mailed copies of the attached document to the following
14   ECF registrants:
15
     Diane C. Kerns, Trustee*
16   Office of Chapter 13 Bankruptcy
     31 North 6th Avenue, #105-152                    Janet M. Spears*
17
     Tucson, AZ 85701                                 Aldridge Pite, LLP
18   Email: dckerns@dcktrustee.com                    4375 Jutland Drive, Suite 200
                                                      P.O. Box 17933
19   Alan R. Solot*                                   San Diego, CA 92177-0933
20   2701 E. Speedway Blvd., Suite 203                Email: ecfazb@aldridgepite.com
     Tucson, AZ 85716                                 Attorneys for Quicken Loans
21   Email: arsolot@gmail.com
     (former) Attorney for Debtors                    Herman C. Zickerman*
22
                                                      West Longenbaugh & Zickerman, P.L.L.C.
23   Edward H. Laber*                                 310 S. Williams Blvd., Suite 250
     33 North Tucson Blvd.                            Tucson, AZ 85711
24   Tucson, AZ 85716                                 Email: gib@welzaz.com
25   Email: ehl@laberlaw.com
     (former) Special Counsel for Debtors
26
     /s/ Kate Manns
27
     Kate Manns
28
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